           Case 2:22-ap-01061-ER Doc 58 Filed 07/24/22                                            Entered 07/24/22 21:14:09                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 5
                                                              United States Bankruptcy Court
                                                               Central District of California
Christensen,
       Plaintiff                                                                                                       Adv. Proc. No. 22-01061-ER
Wu,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jul 22, 2022                                               Form ID: pdf031                                                            Total Noticed: 3
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 24, 2022:
Recip ID                 Recipient Name and Address
pla                    + Clifford Rosen, 695 Town Center Drive, Costa Mesa, CA 92626-1924
dft                    + Howard Chorng Jeng Wu, 13600 Bayliss Road, Los Angeles, CA 90049-1815
pla                    + Ronald A Christensen, 695 Town Center Drive, Suite 700, Costa Mesa, CA 92626-7187

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 24, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 21, 2022 at the address(es) listed below:
Name                               Email Address
Eric Bensamochan
                                   on behalf of Defendant Howard Chorng Jeng Wu eric@eblawfirm.us G63723@notify.cincompass.com

Heide Kurtz (TR)
                                   trustee@hkurtzco.com C169@ecfcbis.com

Norma V Garcia
                                   on behalf of Plaintiff Ronald A Christensen ngarciaguillen@garciarainey.com
                                   jnuzzo@garciarainey.com;geason@garciarainey.com

Norma V Garcia
                                   on behalf of Plaintiff Clifford Rosen ngarciaguillen@garciarainey.com jnuzzo@garciarainey.com;geason@garciarainey.com

United States Trustee (LA)
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District/off: 0973-2                                      User: admin                                    Page 2 of 2
Date Rcvd: Jul 22, 2022                                   Form ID: pdf031                               Total Noticed: 3
                          ustpregion16.la.ecf@usdoj.gov


TOTAL: 5
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                                                                         FILED & ENTERED
                       UNITED STATES BANKRUPTCY COURT
                                                    JUL 21 2022
                        CENTRAL DISTRICT OF CALIFORNIA
                                  LOS ANGELES DIVISION CLERK   U.S. BANKRUPTCY COURT
                                                       Central District of California
                                                                          BY gonzalez DEPUTY CLERK



                                                        Case No.: 2:21-bk-19480-ER
 In re:
                                                        Adv. No.: 2:22-ap-01061-ER
             HOWARD CHORNG JENG WU,
                                              Debtor.
                                                        ORDER ESTABLISHING COURTROOM
                                                        PROCEDURES FOR TRIALS AND
                                                        EVIDENTIARY HEARINGS

                                               RE: FIRST AMENDED COMPLAINT FILED
 CLIFFORD A. ROSEN, an individual; RONALD 7/20/22
 A. CHRISTENSEN, an individual,
                                    Plaintiff,
                           v.
 HOWARD WU, an Individual,
                                          Defendant.
                                                        [No hearing required pursuant to Federal Rule
                                                        of Civil Procedure 78(b) and Local Bankruptcy
                                                        Rule 9013-1(j)(3)]

     This adversary proceeding having or evidentiary matter having been set for trial or
 evidentiary hearing for the week of 5/22/2023 at 9:00 a.m., IT IS HEREBY ORDERED AS
 FOLLOWS1:

          1) No later than seven (7) court days prior to trial, each party shall serve and exchange
             the following:
             a) A trial brief;
             b) A set of proposed findings of fact and conclusions of law;
             c) Trial exhibits;
             d) A list of trial exhibits; and
             e) A list of witnesses.
          2) &RSLHVRIWKHIRUHJRLQJVKDOOEHGHOLYHUHGGLUHFWO\WR-XGJH5REOHV¶FKDPEHUVQRODWHU
             than seven court days prior to trial. PDF versions of the foregoing shall be filed on the

 1
   Unless otherwise ordered, these procedures apply to any hearing involving live witness
 testimony.

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             CM/ECF docket. The proposed findings of fact and conclusions of law shall also be
             VXEPLWWHGYLDWKH&RXUW¶V/RGJHG2UGHU8SORDG /28 V\VWHP
        3)   Contents of Trial Brief:
             a) The trial brief shall contain all the information specified in Local Bankruptcy
                 5XOH ³/%5´ -2(a)(1).
             b) Unless otherwise ordered, the trial brief shall not exceed twenty pages.
             c) The trial brief shall contain a table of contents and table of authorities (neither of
                 which count towards the page limit).
        4)   Contents of Proposed Findings of Fact and Conclusions of Law:
             a) The proposed findings of fact and conclusions of law shall be prepared in
                 accordance with LBR 7052-1.
             b) Each proposed finding of fact shall be supported by a reference to an exhibit or to
                 anticipated testimony.
             c) The proposed findings of fact and conclusions of law shall not contain argument
                 or facts that are not substantiated by evidence.
        5)   Trial Exhibits:
             a) Each party shall provide three FRSLHVRIWKDWSDUW\¶VH[KLELWVIRUXVHDWWULDO RQH
                 copy for the Court, one copy for the witness, and one copy for opposing
                 counsel).2
             b) The Court¶VFRS\RIWKHH[KLELWVshall be delivered to chambers seven (7) court
                 days prior to trial. Copies for the witness and opposing counsel may be brought to
                 court on the date set for trial.
             c) Prior to delivery to chambers, all exhibits shall be pre-marked with exhibit tags.
                 Exhibits tags are DYDLODEOHRQWKH&RXUW¶VZHEVLWHDW
                 https://www.cacb.uscourts.gov/forms/local_bankruptcy_rules_forms. Exhibit tags
                 shall not obscure any portion of the exhibit; if necessary, the exhibit tag may be
                 placed on the reverse of the exhibit.
             d) 3ODLQWLII¶VH[KLELWVVKDOOEHLGHQWLILHGQXPHULFDOO\ (e.g., Exhibit 1, 2, 3, etc.).
                 'HIHQGDQW¶VH[KLELWVVKDOOEHLGHQtified alphabetically HJ([KLELW$%&«=
                 $$$%$&«$=%$%%%&«%=HWF 
             e) If a party has more than ten (10) exhibits, the exhibits shall be placed in a three-
                 ring binder or binders. Exhibits shall be divided by a tab extending beyond the
                 right-hand side of the page, which shall bear the number or letter of the exhibit.
                 Each page of the exhibit binder shall be numbered sequentially beginning with the
                 first page of the binder. A separate numbering sequence for each exhibit should
                 NOT be used²that is, if Exhibit 1 has 37 pages, the first page of Exhibit 2 shall
                 EHQXPEHUHG³´NOT ³´7Kis numbering convention makes it easier for
                 counsel to direct a witness to the correct page of an exhibit at trial. To apply
                 sequential numbering to a PDF document in Adobe Acrobat Pro, select Organize
                 Pages in the Tools pane, and then select More > Bates Numbering > Add.
        6)   Demonstrative Evidence. The Court encourages the use of sketches, models,
             diagrams, pictures, summaries, charts, and other demonstrative evidence. Summaries



 2
  Copies of exhibits for witnesses and counsel must be removed at the conclusion of the trial or
 evidentiary hearing.

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           may be required for actions involving voluminous documentation of financial
           transactions.
       7) Courtroom Etiquette. Opening statements, questioning of witnesses, and closing
           arguments shall be made from the podium. Counsel shall obtain permission before
           approaching a witness. Counsel making an objection or addressing the Court shall
           rise to be recognize. These procedures are necessary to insure an accurate recording
           of the proceedings.
       8) Counsel Tables. Plaintiff shall use the counsel table in front of and closest to the
           witness stand (the table on the right-hand side of the courtroom when facing the
           bench). Defendant shall use the counsel table furthest from the witness stand (the
           table on the left-hand side of the courtroom when facing the bench).
       9) Manner of Appearance. Unless otherwise ordered by the Court, all parties and
           witnesses shall appear at the trial or evidentiary hearing in-person. Parties or
           witnesses seeking to be excused from appearing in-person shall present such request
           to the Court by way of stipulation or motion.
       10) Plaintiff shall serve this Order upon all parties appearing in the above-captioned
           proceeding, and shall file a proof of service so indicating within twenty days of the
           date of issuance of this Order.
       11) Failure to adhere to the provisions of this Order may result in the imposition of
           sanctions as deemed appropriate by the Court.

    IT IS SO ORDERED.
                                                ###




      Date: July 21, 2022




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